            CASE 0:13-cr-00235-JRT-LIB Doc. 46 Filed 04/01/14 Page 1 of 6




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                          Criminal No. 13-235 (JRT/LIB)

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )
       v.                                  )     GOVERNMENT’S POSITION WITH
                                           )     RESPECT TO SENTENCING
MICHAEL JAMES DEEGAN,                      )
                                           )
                     Defendant.            )


       The United States of America, by and through its attorneys, Andrew M. Luger,

United States Attorney for the District of Minnesota, and Deidre Y. Aanstad, Assistant

United States Attorney, hereby submits its position with respect to sentencing of

defendant Michael James Deegan. For the reasons outlined below, the government

respectfully requests that the Court impose a sentence of 96 months imprisonment on

Count 2 (Possession of an Unregistered Firearm) and 60 months imprisonment on Count

3 (Assault Resulting in Substantial Bodily Injury).

                                   INTRODUCTION

       On September 24, 2013, a grand jury sitting in the District of Minnesota returned a

three count Indictment charging the defendant Michael James Deegan with (1) Felon in

Possession of a Firearm in violation of Title 18, United States Code, Sections 922(g)(1)

and 924(a)(2); (2) Possession of an Unregistered Firearm in violation of Title 26, United

States Code, Sections 5845(a), 5861(d), and 5871; and (3) Assault Resulting in

Substantial Bodily Injury in violation of Title 18, United States Code, Sections 113(a)(7),
          CASE 0:13-cr-00235-JRT-LIB Doc. 46 Filed 04/01/14 Page 2 of 6




1151, and 1153(a), for an incident occurring on June 4, 2013. On December 16, 2013,

the defendant pled guilty to two counts of the indictment, namely Count 2 (Possession of

an Unregistered Firearm) and Count 3 (Assault Resulting in Substantial Bodily Injury).

I.     Offense Conduct

       In the late evening hours of June 4, 2013, law enforcement from the White Earth

Police Department and the Mahnomen County Sheriff’s Office responded to a residence

in Mahnomen, Minnesota, on the report of a domestic assault. Presentence Investigative

Report (“PSR”), ¶ 6. On arrival at the residence, law enforcement encountered a visibly

shaken and injured A.J.S., who reported that the defendant, her boyfriend and father of

her 3-year-old child, assaulted her by punching and kicking her. Id. Officers made entry

into the residence and located that the defendant in an upstairs bedroom. PSR, ¶ 7. The

defendant was lying face down on a bed with a sawed-off shotgun lying next to him. Id.

After a short struggle, the defendant was arrested and transported to jail. Id. As a result

of the assault, the victim A.J.S. suffered substantial bodily injury.

II.    Prior Criminal Convictions

       At 24 years of age, the defendant has amassed a significant criminal history. As

reflected in the PSR, the defendant’s first interaction with the criminal justice system was

at the age of 12 years. Prior to the age of 18, the defendant appeared in state court for 12

different offenses ranging from misdemeanor to felony offenses. PSR, ¶¶ 42-53. The

defendant was ultimately placed in a long-term juvenile detention facility and aged out of

the juvenile justice system. Id.



                                              2
         CASE 0:13-cr-00235-JRT-LIB Doc. 46 Filed 04/01/14 Page 3 of 6




       As an adult, the defendant committed his first felony offense shortly after he

turned 18 years of age. PSR, ¶ 55. On July 8, 2010, when the defendant was still 19

years old, the defendant was committed to the Minnesota Department of Corrections after

having been convicted of three different felony crimes (Third Degree Assault, Simple

Robbery, and Fifth Degree Drug Possession) occurring on separate dates. PSR, ¶ 55-57.

Prior to being committed to prison, the defendant was provided an opportunity and placed

on probation. However, the defendant repeatedly violated the terms of his probation by

committing new offenses or failing to abide by the terms of his probation. Id. Once the

defendant was released from prison in 2011, the defendant once again failed to abide by

the conditions of supervised release and was returned to prison for those violations. Id.

       The defendant’s criminal conduct did not cease after he was released from prison

in late 2011. Rather, within six months of release, the defendant committed a domestic

assault against A.J.S. PSR, ¶ 58. After, the defendant was convicted of another assault

and a felony drug possession for incidents in 2012. PSR, ¶¶ 59 and 60. The defendant’s

instant offense occurred less than 40 days after being placed on probation for a Fifth

Degree Assault and a felony drug possession.

                   SENTENCING GUIDELINES CALCULATION

       The district court should begin sentencing proceedings by correctly calculating the

applicable Guidelines range. Gall v. United States, 552 U.S. 38, 49 (2007). In this

matter, the PSR correctly calculated the applicable advisory Guidelines range and

determined that the guidelines range is 110-120 months imprisonment. Nonetheless, the

parties stipulated to the applicable guidelines calculations in the plea agreement. The
                                             3
          CASE 0:13-cr-00235-JRT-LIB Doc. 46 Filed 04/01/14 Page 4 of 6




parties did not stipulate to a two level increase because Count 2 involved a destructive

device. Accordingly, the parties stipulated that the applicable Guidelines range was 92-

115 months imprisonment. The government respectfully requests that the Court adopt

the guidelines calculations in the PSR as its own, but impose a sentence within the

guidelines range determined by the parties, namely 92-115 months. And, for the reasons

outlined below, the government respectfully requests that the Court impose a sentence of

96 months imprisonment on Count 2 (Possession of an Unregistered Firearm) and a

concurrent sentence of 60 months imprisonment on Count 3 (Assault Resulting in

Substantial Bodily Injury).

                    SECTION 3553(a) SENTENCING FACTORS

       In determining a sentence sufficient, but not greater than necessary, to accomplish

the federal sentencing goals outlined in 18 U.S.C. § 3553, a Court must examine multiple

factors including the nature and circumstances of the offense, the history and

characteristics of the defendant, the need for the sentence imposed (a) to reflect the

seriousness of the offense, to promote respect for the law, to provide just punishment for

the offense, (b) to afford adequate deterrence to criminal conduct, (c) to protect the public

from further crimes of the defendant, and (d) to provide the defendant with needed

educational and vocational training, medical care or other correctional treatment in the

most effective manner; and the need to avoid unwarranted sentencing disparities. See 18

U.S.C. § 3553(a). In this case, considering all of the sentencing factors, the government

respectfully submits that concurrent sentences of 96 months and 60 months imprisonment

is appropriate for this defendant for each count of conviction. Such a sentence would be
                                             4
             CASE 0:13-cr-00235-JRT-LIB Doc. 46 Filed 04/01/14 Page 5 of 6




sufficient, but not greater than necessary, to accomplish the federal sentencing goals in

this case.

       Here, the crime is not particularly complicated – the defendant committed an act

of domestic violence, which resulted in substantial bodily injury, and was found and

arrested while in possession of a sawed-off shotgun. As evidenced by the defendant’s

lengthy criminal history at a young age, this is not the defendant’s first brush with the

law. Further, the defendant certainly knows and has been provided with opportunities for

treatment and rehabilitation. Nonetheless, the defendant’s criminal history and comments

provided in the PSR reflects an unapologetic man that lives his life by his own rules and

intends to continue to do so. See PSR, ¶ 88-89. Accordingly, punishment and general

deterrence must outweigh any other characteristic of the defendant. Therefore, after

consideration of the factors set forth in 3553(a), a sentence as requested by the

government is an appropriate sentence.




                                           5
         CASE 0:13-cr-00235-JRT-LIB Doc. 46 Filed 04/01/14 Page 6 of 6




                                    CONCLUSION

      The government respectfully requests that the Court impose concurrent sentences

of 96 months imprisonment on Count 2 (Possession of an Unregistered Firearm) and 60

months imprisonment on Count 3 (Assault Resulting in Substantial Bodily Injury). These

sentences are reasonable as guided by the factors outlined in 18 U.S.C. § 3553(a).

Dated: April 1, 2014
                                                Respectfully Submitted,

                                                ANDREW M. LUGER
                                                United States Attorney

                                                s/Deidre Y. Aanstad

                                                BY: DEIDRE Y. AANSTAD
                                                Assistant U.S. Attorney
                                                Attorney ID No. 0331788




                                            6
